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                             ‭UNITED‬‭STATES‬‭DISTRICT‬‭COURT‬‭FOR‬‭THE‬
                                ‭NORTHERN‬‭DISTRICT‬‭OF‬‭NEW‬‭YORK ‬
                                       ‭PLATTSBURGH‬‭DIVISION‬


‭ COTT‬‭PHILLIP‬‭LEWIS,
S                                                           ‭
                                                            §
‭Plaintiff‬‭,‬                                              §      8:24-cv-61 (BKS/DJS)
                                                            ‭§
‭v.                                                          §     ‭Jury‬‭Trial‬‭Demanded‬
                                                             ‭§
  ‭Affiliated‬‭Enterprise‬‭Solutions,‬‭LLC;‬                  §
  ‭ ES‬‭Medical‬‭Supply,‬‭LLC;‬‭Brian‬
  A                                                           ‭§
‭Stevens ‬                                                     §
 ‭Defendant.‬‭‬

                                 ‭PLAINTIFF’S‬‭ORIGINAL‬‭COMPLAINT‬

          ‭NOW‬‭COMES‬‭PLAINTIFF,‬‭Scott‬‭Phillip‬‭Lewis,‬‭and‬‭files‬‭Plaintiff’s‬‭Original‬‭Complaint.‬

‭Plaintiff‬‭files‬‭this‬‭Fair‬‭Standards‬‭Labor‬‭Act‬‭and‬‭Americans‬‭with‬‭Disabilities‬‭Act‬‭lawsuit‬‭and‬‭will‬

‭show‬‭as‬‭follows.‬

                                                  ‭I.    ‭PARTIES

‭1. ‭Plaintiff‬‭is‬‭Scott‬‭Phillip‬‭Lewis‬‭(“Plaintiff”),‬‭an‬‭individual‬‭and‬‭citizen‬‭of‬‭the‬‭United‬‭States‬‭of

      ‭America.

‭2. ‭Defendant‬‭#1‬‭is‬‭Affiliated‬‭Enterprise‬‭Solutions‬‭LLC‬‭(“AES”)‬‭is‬‭a‬‭limited‬‭liability‬‭company

      ‭(“LLC”)‬‭located‬‭in‬‭Austin,‬‭Texas‬‭and‬‭can‬‭be‬‭served‬‭through‬‭its‬‭owner‬‭Brian‬‭Stevens‬‭at‬‭500

      ‭River‬‭Place‬‭Boulevard‬‭Building‬‭7,‬‭Suite‬‭250,‬‭Austin,‬‭TX‬‭78730.‬ ‭Service‬‭is‬‭requested

      ‭contemporaneously‬‭with‬‭the‬‭filing‬‭of‬‭the‬‭complaint.

‭3. ‭AES‬‭Medical‬‭Supply‬‭LLC‬‭(“AES‬‭Medical‬‭Supply”‬ ‭is‬‭a‬‭limited‬‭liability‬‭company‬‭located‬‭in

      ‭Austin,‬‭Texas‬‭and‬‭can‬‭be‬‭served‬‭through‬‭its‬‭owner‬‭Brian‬‭Stevens‬‭at‬‭500‬‭River‬‭Place

      ‭Boulevard‬‭Building‬‭7,‬‭Suite‬‭250,‬‭Austin,‬‭TX‬‭78730.‬ ‭Service‬‭is‬‭requested

      ‭contemporaneously‬‭with‬‭the‬‭filing‬‭of‬‭the‬‭complaint.

‭4. ‭Brian‬‭Stevens‬‭is‬‭an‬‭individual‬‭who‬‭resides‬‭in‬‭Travis‬‭County,‬‭Austin,‬‭Texas‬‭and‬‭can‬‭be‬‭served



                                                                                                                       ‭1‬
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    ‭at‬‭12812‬‭Oxen‬‭Way,‬‭Austin,‬‭Texas‬‭78732-2150.‬‭Service‬‭is‬‭requested‬‭contemporaneously‬

    ‭with‬‭the‬‭filing‬‭of‬‭the‬‭complaint.‬

                                     ‭II.‬‭JURISDICTION‬‭AND‬‭VENUE‬

‭5.‬ ‭The‬‭court‬‭has‬‭jurisdiction‬‭over‬‭this‬‭lawsuit‬‭according‬‭to‬‭28‬‭U.S.C‬‭§‬‭1331.‬ ‭The‬‭court‬‭has‬

    ‭personal‬‭jurisdiction‬‭over‬‭this‬‭lawsuit‬‭because‬‭of‬‭violations‬‭of‬‭laws‬‭of‬‭the‬‭United‬‭States‬‭of‬

    ‭America.‬

‭6.‬ ‭Venue‬‭is‬‭proper‬‭in‬‭the‬‭Plattsburgh‬‭Division‬‭of‬‭the‬‭United‬‭States‬‭District‬‭Court‬‭for‬‭the‬

    ‭Northern‬‭District‬‭of‬‭New‬‭York,‬‭under‬‭28‬‭U.S.C‬‭§‬‭1391(b)‬‭and‬‭Local‬‭General‬‭Order‬‭12‬

    ‭directing‬‭case‬‭assignment‬‭for‬‭the‬‭Northern‬‭District‬‭of‬‭New‬‭York.‬ ‭Venue‬‭is‬‭also‬‭proper‬

    ‭because‬‭Plaintiff‬‭resides‬‭in‬‭this‬‭district.‬

                                      ‭III.‬‭FACTUAL‬‭ALLEGATIONS‬

                                  ‭A.‬‭Plaintiff's‬‭Relevant‬‭Medical‬‭History‬

‭7.‬‭In‬‭November‬‭2015,‬‭Plaintiff‬‭was‬‭involved‬‭in‬‭a‬‭hit‬‭and‬‭run‬‭accident‬‭on‬‭Rainey‬‭Street‬‭in‬‭Austin,‬

    ‭Texas‬‭leaving‬‭Plaintiff‬‭with‬‭a‬‭concussion‬‭and‬‭traumatic‬‭brain‬‭injury‬‭(TBI).‬‭The‬‭police‬‭who‬

    ‭were‬‭involved‬‭never‬‭followed‬‭up‬‭with‬‭Plaintiff,‬‭seemingly‬‭attempting‬‭to‬‭cover‬‭up‬‭what‬

    ‭happened.‬‭Plaintiff‬‭is‬‭still‬‭working‬‭on‬‭obtaining‬‭a‬‭full‬‭police‬‭report‬‭and‬‭information‬‭from‬‭the‬

    ‭officers‬‭involved‬‭at‬‭the‬‭November‬‭2015‬‭accident‬‭and‬‭cover‬‭up.‬

‭8.‬‭After‬‭the‬‭2015‬‭hit‬‭and‬‭run‬‭incident,‬‭Plaintiff‬‭experienced‬‭a‬‭progressive‬‭increase‬‭in‬

    ‭attention-deficit/hyperactivity‬‭disorder‬‭(“ADHD”)‬‭symptoms‬‭associated‬‭with‬‭the‬

    ‭post-traumatic‬‭stress‬‭disorder‬‭(“PTSD”)‬‭from‬‭the‬‭accident‬‭and‬‭lack‬‭of‬‭police‬‭professionalism,‬

    ‭follow‬‭up‬‭and‬‭transparency.‬

‭9.‬‭After‬‭the‬‭progression‬‭of‬‭symptoms‬‭of‬‭PTSD‬‭and‬‭ADHD‬‭from‬‭the‬‭2015‬‭hit‬‭and‬‭run‬‭accident,‬

    ‭Plaintiff‬‭had‬‭developed‬‭an‬‭alcohol‬‭abuse‬‭disorder‬‭over‬‭time.‬‭While‬‭some‬‭could‬‭see‬‭the‬




                                                                                                                    ‭2‬
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    ‭alcohol‬‭abuse,‬‭the‬‭root‬‭cause‬‭of‬‭the‬‭symptom‬‭went‬‭undiagnosed‬‭for‬‭a‬‭very‬‭long‬‭time.‬‭Even‬

    ‭though‬‭Plaintiff‬‭understood‬‭the‬‭symptoms‬‭he‬‭was‬‭experiencing,‬‭Plaintiff‬‭was‬‭bombarded‬

    ‭with‬‭conflicting‬‭opinions‬‭by‬‭individuals‬‭who‬‭did‬‭not‬‭care‬‭about‬‭the‬‭full‬‭truth,‬‭but‬‭instead‬

    ‭focused‬‭on‬‭selective‬‭facts‬‭that‬‭best‬‭fit‬‭a‬‭desired‬‭narrative‬‭and‬‭bias.‬

‭10.‬‭Again‬‭symptoms‬‭of‬‭PTSD‬‭and‬‭ADHD‬‭were‬‭further‬‭exacerbated‬‭on‬‭or‬‭around‬‭July‬‭2018‬

    ‭when‬‭a‬‭former‬‭roommate‬‭and‬‭also‬‭a‬‭coach‬‭at‬‭Vandegrift‬‭Lacrosse‬‭Club‬‭told‬‭Plaintiff‬‭he‬‭had‬

    ‭paid‬‭money‬‭to‬‭have‬‭a‬‭man‬‭killed‬‭over‬‭a‬‭disagreement‬‭in‬‭a‬‭lacrosse‬‭game.‬‭Stunned‬‭by‬‭such‬

    ‭evil,‬‭Plaintiff‬‭experienced‬‭an‬‭even‬‭further‬‭increase‬‭in‬‭ADHD‬‭and‬‭PTSD‬‭symptoms‬‭and‬

    ‭separately,‬‭an‬‭increase‬‭in‬‭alcohol‬‭abuse,‬‭which‬‭is‬‭a‬‭symptom‬‭of‬‭PTSD‬‭and‬‭ADHD.‬

‭11.‬‭Plaintiff‬‭made‬‭the‬‭choice‬‭to‬‭go‬‭to‬‭“A‬‭Forever‬‭Recovery,”‬‭a‬‭rehabilitation‬‭facility‬‭in‬‭Battle‬

    ‭Creek,‬‭Michigan.‬‭Plaintiff‬‭knew‬‭this‬‭was‬‭not‬‭a‬‭good‬‭fit,‬‭almost‬‭immediately,‬‭as‬‭the‬‭facility‬

    ‭wanted‬‭to‬‭focus‬‭solely‬‭on‬‭the‬‭alcohol‬‭abuse‬‭and‬‭not‬‭the‬‭reasons‬‭that‬‭caused‬‭such‬‭a‬‭symptom.‬

    ‭Plaintiff‬‭felt‬‭as‬‭if‬‭they‬‭were‬‭at‬‭a‬‭cult‬‭and‬‭made‬‭the‬‭decision‬‭to‬‭leave‬‭after‬‭approximately‬

    ‭twelve‬‭(12)‬‭days.‬‭This‬‭experience‬‭affected‬‭Plaintiff’s‬‭overall‬‭well-being.‬ ‭“A‬‭Forever‬

    ‭Recovery”‬‭is‬‭now‬‭believed‬‭to‬‭be‬‭permanently‬‭closed.‬

‭12.‬‭On‬‭January‬‭25,‬‭2019,‬‭Plaintiff‬‭was‬‭arrested‬‭for‬‭driving‬‭while‬‭intoxicated‬‭in‬‭Williamson‬

    ‭County,‬‭TX.‬ ‭Selective,‬‭manipulated‬‭and‬‭edited‬‭portions‬‭of‬‭the‬‭arrest‬‭were‬‭broadcast‬‭to‬‭over‬

    ‭a‬‭million‬‭viewers‬‭on‬‭a‬‭television‬‭show‬‭advertising‬‭the‬‭edited‬‭arrests‬‭they‬‭were‬‭broadcasting‬

    ‭as‬‭“unfiltered‬‭and‬‭unfettered,”‬‭when‬‭in‬‭fact,‬‭it‬‭was‬‭not.‬

‭B.‬‭Plaintiff’s‬‭history‬‭with‬‭Affiliated‬‭Enterprise‬‭Solutions,‬‭LLC,‬‭AES‬‭Medical‬‭Supply,‬‭LLC‬
                                              ‭and‬‭Brian‬‭Stevens‬


‭13.‬‭Plaintiff‬‭first‬‭met‬‭Brian‬‭Stevens‬‭through‬‭Vandegrift‬‭Lacrosse‬‭Club‬‭in‬‭Austin,‬‭TX‬ ‭in‬‭2015.‬

    ‭Brian‬‭Stevens‬‭owns‬‭both‬‭Affiliated‬‭Enterprise‬‭Solutions,‬‭LLC‬‭and‬‭AES‬‭Medical‬‭Supply,‬




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    ‭LLC.‬

‭14.‬‭Plaintiff‬‭was‬‭coach‬‭of‬‭a‬‭fifth‬‭and‬‭sixth‬‭grade‬‭youth‬‭lacrosse‬‭team‬‭through‬‭Vandegrift‬

    ‭Lacrosse‬‭Club‬‭with‬‭Brian‬‭Stevens’‬‭son‬‭on‬‭the‬‭roster.‬

‭15.‬‭As‬‭the‬‭only‬‭coach,‬‭Plaintiff‬‭had‬‭difficulty‬‭coaching‬‭individually‬‭to‬‭approximately‬‭twenty‬

    ‭kids,‬‭keeping‬‭everyone‬‭in‬‭order‬‭and‬‭setting‬‭up‬‭the‬‭drills‬‭simultaneously.‬ ‭One‬‭practice‬‭in‬

    ‭2015,‬‭Plaintiff‬‭spotted‬‭a‬‭parent‬‭watching‬‭practice,‬‭Brian‬‭Stevens,‬‭and‬‭asked‬‭if‬‭he‬‭could‬‭help‬

    ‭set‬‭up‬‭the‬‭pylons‬‭for‬‭drills.‬

‭16.‬‭Asking‬‭for‬‭help‬‭setting‬‭up‬‭pylons‬‭at‬‭this‬‭practice‬‭materialized‬‭into‬‭Brian‬‭Stevens‬‭becoming‬

    ‭an‬‭assistant‬‭coach‬‭with‬‭Plaintiff,‬‭up‬‭until‬‭Plaintiff’s‬‭contract‬‭was‬‭terminated‬‭after‬‭the‬‭January‬

    ‭25,‬‭2019‬‭“LivePD”‬‭arrest‬‭previously‬‭mentioned.‬

‭17.‬‭Plaintiff‬‭was‬‭also‬‭employed‬‭by‬‭Charles‬‭Schwab‬‭in‬‭Austin,‬‭Texas‬‭until‬‭on‬‭or‬‭around‬‭July‬‭12,‬

    ‭2019.‬

‭18.‬‭On‬‭or‬‭around‬‭January‬‭2020,‬‭when‬‭Plaintiff‬‭was‬‭now‬‭unemployed,‬‭Brian‬‭Stevens‬‭approached‬

    ‭Plaintiff‬‭about‬‭an‬‭opportunity‬‭with‬‭Affiliated‬‭Enterprise‬‭Solutions.‬

‭19.‬ ‭Affiliated‬‭Enterprise‬‭Solutions‬‭offers‬‭consulting‬‭for‬‭hospital‬‭associations‬‭across‬‭the‬‭United‬

    ‭States.‬ ‭Upon‬‭information‬‭and‬‭belief,‬‭current‬‭clientele‬‭includes‬‭Maine‬‭Hospital‬‭Association‬‭,‬

    ‭Massachusetts‬‭Health‬‭&‬‭Hospital‬‭Association‬‭,‬‭Michigan‬‭Health‬‭&‬‭Hospital‬‭Association‬‭,‬

    ‭Michigan‬‭Pharmacists‬‭Association‬‭,‬‭Minnesota‬‭Hospital‬‭Association‬‭,‬‭New‬‭Hampshire‬

    ‭Hospital‬‭Association‬‭and‬‭North‬‭Dakota‬‭Hospital‬‭Association‬‭.‬

‭20.‬‭Entered‬‭into‬‭a‬‭contract‬‭in‬‭early‬‭2020‬‭(exhibit‬‭A).‬ ‭Initially,‬‭Plaintiff‬‭seeked‬‭new‬‭clients‬‭for‬

    ‭Affiliated‬‭Enterprise‬‭Solution.‬‭The‬‭contract‬‭was‬‭paid‬‭hourly.‬

‭21.‬‭COVID-19‬‭was‬‭a‬‭global‬‭pandemic‬‭with‬‭outbreaks‬‭occurring‬‭in‬‭the‬‭United‬‭States‬‭at‬‭the‬

    ‭beginning‬‭of‬‭2020.‬ ‭This‬‭became‬‭the‬‭obvious‬‭focal‬‭point‬‭of‬‭hospitals‬‭in‬‭the‬‭beginning‬‭of‬




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    ‭2020.‬ ‭This‬‭completely‬‭altered‬‭the‬‭agreement‬‭that‬‭Plaintiff‬‭entered‬‭with‬‭Affiliated‬‭Enterprise‬

    ‭Solutions‬‭at‬‭the‬‭beginning‬‭of‬‭2020.‬

‭22.‬‭One‬‭project‬‭was‬‭completing‬‭COVID‬‭resource‬‭list‬‭for‬‭Indiana‬‭Hospital‬‭Association‬‭in‬‭2020.‬

    ‭Upon‬‭information‬‭and‬‭belief,‬‭Indiana‬‭Hospital‬‭Association‬‭was‬‭a‬‭former‬‭client‬‭of‬‭Affiliated‬

    ‭Enterprise‬‭Solutions,‬‭LLC.‬

‭23.‬‭Second,‬‭was‬‭doing‬‭the‬‭same‬‭for‬‭the‬‭Florida‬‭Hospital‬‭Association‬‭simultaneously‬‭in‬‭2020‬‭by‬

    ‭compiling‬‭a‬‭COVID‬‭resource‬‭list‬‭for‬‭the‬‭hospital‬‭association‬‭and‬‭its‬‭members.‬ ‭Upon‬

    ‭information‬‭and‬‭belief,‬‭Florida‬‭Hospital‬‭Association‬‭was‬‭a‬‭former‬‭client‬‭of‬‭Affiliated‬

    ‭Enterprise‬‭Solutions,‬‭LLC.‬

‭24.‬‭Plaintiff‬‭sold‬‭advertisements‬‭for‬‭Minnesota‬‭Hospital‬‭Association‬‭in‬‭2021.‬ ‭Regardless‬‭of‬‭how‬

    ‭many‬‭advertisements‬‭were‬‭sold,‬‭Plaintiff‬‭was‬‭paid‬‭an‬‭hourly‬‭wage.‬

‭25.‬‭Plaintiff‬‭would‬‭complete‬‭reference‬‭checks‬‭for‬‭Affiliated‬‭Enterprise‬‭Solutions,‬‭LLC.‬

‭26.‬‭Thus,‬‭Plaintiff‬‭was‬‭an‬‭employee‬‭of‬‭Affiliated‬‭Enterprise‬‭Solutions,‬‭LLC‬‭and‬‭not‬‭an‬

    ‭independent‬‭contractor.‬

‭27.‬‭AES‬‭Medical‬‭Supply,‬‭LLC‬‭was‬‭created‬‭in‬‭response‬‭to‬‭COVID-19‬‭to‬‭fulfill‬‭medical‬‭supply‬

    ‭needs‬‭of‬‭hospitals‬‭during‬‭or‬‭around‬‭January‬‭2021.‬

‭28.‬‭Plaintiff‬‭designed‬‭and‬‭launched‬‭the‬‭website‬‭aesmedicalsupply.com‬‭for‬‭the‬‭company‬‭using‬

    ‭godaddy.com.‬ ‭Plaintiff‬‭was‬‭compensated‬‭by‬‭Affiliated‬‭Enterprise‬‭Solutions,‬‭LLC‬‭at‬‭the‬

    ‭same‬‭hourly‬‭rate‬‭for‬‭this‬‭task.‬

‭29.‬‭Another‬‭task‬‭given‬‭to‬‭Plaintiff‬‭in‬‭2021‬‭was‬‭to‬‭seek‬‭needles‬‭used‬‭for‬‭vaccines‬‭and‬‭other‬‭uses‬

    ‭that‬‭were‬‭a‬‭problem‬‭source‬‭for‬‭hospitals‬‭attempting‬‭to‬‭locate‬‭supplies‬‭during‬‭COVID-19.‬

‭31.‬ ‭Upon‬‭information‬‭and‬‭belief,‬‭this‬‭task‬‭was‬‭intended‬‭to‬‭create‬‭the‬‭perception‬‭that‬‭Plaintiff‬

    ‭was‬‭a‬‭drug‬‭user.‬




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‭32.‬‭In‬‭2022,‬‭Plaintiff‬‭was‬‭also‬‭tasked‬‭with‬‭selling‬‭crutches‬‭for‬‭AES‬‭Medical‬‭Supply,‬‭LLC.‬ ‭After‬

    ‭concerns‬‭over‬‭the‬‭way‬‭compensation‬‭was‬‭handled‬‭regarding‬‭selling‬‭advertisements‬‭for‬‭the‬

    ‭Minnesota‬‭Hospital‬‭Association,‬‭Plaintiff‬‭requested‬‭a‬‭contract‬‭that‬‭correlated‬‭between‬‭sales‬

    ‭made‬‭and‬‭profit‬‭received‬‭for‬‭work‬‭done‬‭with‬‭AES‬‭Medical‬‭Supply,‬‭LLC.‬

‭33.‬‭Brian‬‭Stevens‬‭never‬‭completed‬‭a‬‭contractual‬‭agreement‬‭between‬‭Plaintiff‬‭and‬‭AES‬‭Medical‬

    ‭Supply,‬‭LLC.‬

‭34.‬‭Plaintiff‬‭never‬‭sold‬‭a‬‭single‬‭thing‬‭for‬‭AES‬‭Medical‬‭Supply,‬‭LLC.‬

‭35.‬‭Plaintiff’s‬‭contract‬‭with‬‭Affiliated‬‭Enterprise‬‭Solutions,‬‭LLC‬‭was‬‭terminated‬‭on‬‭or‬‭around‬

    ‭August‬‭2022‬‭as‬‭a‬‭result‬‭of‬‭Plaintiff‬‭missing‬‭a‬‭“team‬‭meeting.”.‬

‭36.‬‭Plaintiff‬‭was‬‭misclassified‬‭as‬‭an‬‭independent‬‭contractor‬‭when‬‭in‬‭fact‬‭he‬‭was‬‭an‬‭employee‬‭of‬

    ‭Affiliated‬‭Enterprise‬‭Solutions,‬‭LLC‬‭and‬‭AES‬‭Medical‬‭Supply,‬‭LLC.‬

                                                     ‭IV.‬‭CLAIMS‬

                                           ‭I.‬   ‭Fair‬‭Standards‬‭Labor‬‭Act‬

                                 ‭Misclassified‬‭as‬‭Independent‬‭Contractor;‬‭29‬‭U.S.‬‭Code‬‭§‬‭203‬

‭37.‬‭Plaintiff‬‭hereby‬‭incorporates‬‭all‬‭preceding‬‭paragraphs‬‭as‬‭if‬‭fully‬‭stated‬‭herein‬‭and‬‭alleges‬‭as‬

    ‭follows.‬

‭38.‬‭29‬‭U‬‭.S.‬‭Code‬‭§‬‭203‬‭states:‬

                   “‭ [e]‬‭mployer‬‭”‬‭includes‬‭any‬‭person‬‭acting‬‭directly‬‭or‬‭indirectly‬‭in‬
                    ‭the‬‭interest‬‭of‬‭an‬‭employer‬‭in‬‭relation‬‭to‬‭an‬‭employee‬‭and‬‭includes‬
                     ‭a‬‭public‬‭agency‬‭,‬‭but‬‭does‬‭not‬‭include‬‭any‬‭labor‬‭organization‬‭(other‬
                      ‭than‬‭when‬‭acting‬‭as‬‭an‬‭employer)‬‭or‬‭anyone‬‭acting‬‭in‬‭the‬‭capacity‬
                       ‭of‬‭officer‬‭or‬‭agent‬‭of‬‭such‬‭labor‬‭organization.”‬


‭39.‬‭The‬‭Internal‬‭Revenue‬‭Service‬‭(“IRS”)‬‭has‬‭a‬‭page‬‭specifically‬‭describing‬‭the‬‭definition‬‭of‬

    ‭“independent‬‭contractor.”‬ ‭Quoting‬‭directly‬‭from‬‭the‬‭IRS‬‭website:‬‭“‬‭You‬‭are‬‭not‬‭an‬

    ‭independent‬‭contractor‬‭if‬‭you‬‭perform‬‭services‬‭that‬‭can‬‭be‬‭controlled‬‭by‬‭an‬‭employer‬‭(what‬



                                                                                                                      ‭6‬
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    ‭will‬‭be‬‭done‬‭and‬‭how‬‭it‬‭will‬‭be‬‭done).‬‭This‬‭applies‬‭even‬‭if‬‭you‬‭are‬‭given‬‭freedom‬‭of‬‭action.‬

    ‭What‬‭matters‬‭is‬‭that‬‭the‬‭employer‬‭has‬‭the‬‭legal‬‭right‬‭to‬‭control‬‭the‬‭details‬‭of‬‭how‬‭the‬‭services‬

    ‭are‬‭performed.”‬

    ‭(https://www.irs.gov/businesses/small-businesses-self-employed/independent-contractor-defi‬

    ‭ned)‬

‭40.‬ ‭Affiliated‬‭Enterprise‬‭Solutions,‬‭LLC‬‭by‬‭definitions‬‭would‬‭be‬‭an‬‭employer.‬

‭41.‬‭When‬‭Plaintiff‬‭asked‬‭for‬‭a‬‭new‬‭contract‬‭regarding‬‭AES‬‭Medical‬‭Supply,‬‭LLC,‬‭he‬‭was‬

    ‭essentially‬‭terminated.‬

‭42.‬ ‭By‬‭terminating‬‭Plaintiff’s‬‭contract‬‭for‬‭missing‬‭a‬‭“team‬‭meeting,”‬‭Affiliated‬‭Enterprise‬

    ‭Solutions,‬‭LLC‬‭is‬‭showing‬‭further‬‭proof‬‭of‬‭being‬‭an‬‭employer‬‭to‬‭Plaintiff‬‭and‬‭Plaintiff‬‭being‬

    ‭misclassified‬‭as‬‭an‬‭independent‬‭contractor.‬

‭43.‬‭Plaintiff‬‭requests‬‭all‬‭relief‬‭and‬‭damages‬‭he‬‭may‬‭be‬‭entitled.‬

                   ‭II.‬   ‭Americans‬‭with‬‭Disabilities‬‭Act;‬‭42‬‭U.S.C‬‭§‬‭12112(5)(A)‬

‭44.‬‭Plaintiff‬‭hereby‬‭incorporates‬‭all‬‭preceding‬‭paragraphs‬‭as‬‭if‬‭fully‬‭stated‬‭herein‬‭and‬‭alleges‬‭as‬

    ‭follows.‬

‭45.‬‭Defendant‬‭was‬‭fully‬‭aware‬‭of‬‭Plaintiff’s‬‭Relevant‬‭Medical‬‭History‬‭qualifying‬‭defendant‬‭as‬

    ‭disabled‬‭at‬‭all‬‭times‬‭before,‬‭during‬‭and‬‭after‬‭employment‬‭at‬‭Affiliated‬‭Enterprise‬‭Solutions,‬

    ‭LLC.‬

‭46.‬‭42‬‭U.S.C‬‭§‬‭12112(5)(A)‬‭states:‬

                  “‭ [a]s‬‭used‬‭in‬‭subsection‬‭(a),‬‭the‬‭term‬‭“‭d‬ iscriminate‬‭against‬‭a‬
                   ‭qualified‬‭individual‬‭on‬‭the‬‭basis‬‭of‬‭disability‬‭”‬‭includes‬‭not‬‭making‬
                    ‭reasonable‬‭accommodations‬‭to‬‭the‬‭known‬‭physical‬‭or‬‭mental‬
                     ‭limitations‬‭of‬‭an‬‭otherwise‬‭qualified‬‭individual‬‭with‬‭a‬‭disability‬
                      ‭who‬‭is‬‭an‬‭applicant‬‭or‬‭employee,‬‭unless‬‭such‬‭covered‬‭entity‬‭can‬
                       ‭demonstrate‬‭that‬‭the‬‭accommodation‬‭would‬‭impose‬‭an‬‭undue‬
                        ‭hardship‬‭on‬‭the‬‭operation‬‭of‬‭the‬‭business‬‭of‬‭such‬‭covered‬‭entity‬‭.”‬




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‭47.‬‭Intentionally‬‭misclassifying‬‭Plaintiff‬‭as‬‭an‬‭independent‬‭contractor‬‭was‬‭not‬‭making‬‭a‬

    ‭reasonable‬‭accommodation.‬ ‭Plaintiff’s‬‭contract‬‭was‬‭essentially‬‭ended‬‭because‬‭he‬‭asked‬‭for‬‭a‬

    ‭contract‬‭to‬‭be‬‭an‬‭independent‬‭contractor‬‭for‬‭AES‬‭Medical‬‭Supply,‬‭LLC.‬

‭48.‬‭Defendant‬‭thought‬‭he‬‭could‬‭take‬‭advantage‬‭of‬‭Plaintiff‬‭because‬‭he‬‭had‬‭a‬‭disability.‬

‭49.‬‭Plaintiff‬‭requests‬‭all‬‭relief‬‭and‬‭damages‬‭he‬‭may‬‭be‬‭entitled.‬
                                                       ‭V.‬‭DAMAGES‬

‭50.‬‭Plaintiff‬‭suffered‬‭and‬‭claims‬‭the‬‭following‬‭damages:‬

                                                  ‭Actual‬‭Damages‬

                       ‭ ‬ ‭Past‬‭and‬‭future‬‭mental‬‭anguish‬
                       ●
                       ‭●‬ ‭Deprivation‬‭of‬‭protections‬‭and‬‭other‬‭benefits‬‭of‬‭Plaintiff‬‭afforded‬‭as‬‭an‬
                             ‭employee‬
                        ‭●‬ ‭Past‬‭and‬‭future‬‭loss‬‭of‬‭earning‬‭capacity‬

                                                    ‭VI.‬‭JURY‬‭DEMAND‬

  ‭51.‬‭Plaintiff‬‭respectfully‬‭requests‬‭jury‬‭trial‬‭pursuant‬‭to‬‭FED.‬‭R.‬‭CIV.‬‭P.‬‭48‬

                                         ‭VII.‬‭PRAYER‬‭FOR‬‭RELIEF‬

  ‭52.‬‭Accordingly,‬‭Plaintiff‬‭requests‬‭that‬‭judgment‬‭be‬‭awarded‬‭against‬‭Affiliated‬‭Enterprise‬

    ‭Solutions,‬‭LLC;‬‭AES‬‭Medical‬‭Supply,‬‭LLC‬‭and‬‭Brian‬‭Stevens‬‭for:‬

    (‭ 1)‬‭Compensatory‬‭damages;‬
     ‭(2)‬‭Punitive‬‭or‬‭exemplary‬‭damages;‬
      ‭(3)‬‭Costs‬‭of‬‭Court;‬
       ‭(4)‬‭Prejudgment‬‭and‬‭postjudgment‬‭interest‬‭at‬‭the‬‭highest‬‭rate‬‭allowable‬‭under‬‭law;‬
        ‭(5)‬‭Unliquidated‬‭damages‬‭at‬‭the‬‭highest‬‭amount‬‭that‬‭is‬‭within‬‭the‬‭jurisdictional‬‭limits‬‭of‬‭the‬
               ‭court;‬
         ‭(6)‬‭And‬‭all‬‭over‬‭relief‬‭to‬‭which‬‭Plaintiff‬‭is‬‭justly‬‭entitled.‬
                                                                                               ‭Respectfully‬‭submitted,‬
                                                                                                  ‭/s/Scott‬‭Phillip‬‭Lewis‬
                                                                                                      ‭Scott‬‭Phillip‬‭Lewis‬
                                                                                    ‭1936‬‭Saranac‬‭Ave.‬‭#3,‬‭PMB‬‭411‬
                                                                                                ‭Lake‬‭Placid,‬‭NY‬‭12946‬
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